Case: 5:22-cv-00081-GFVT Doc #: 1-1 Filed: 03/30/22 Page: 1 of 22 - Page ID#: 6

                                                                                                      Service of Process
                                                                                                      Transmittal
                                                                                                      03/02/2022
                                                                                                      CT Log Number 541145252
  TO:         Serviceof Process
              CVS HEALTH COMPANIES
              1 CVS DR MAIL CODE 1160
              WOONSOCKET, RI 02895-6146

  RE:         Process Served in Kentucky

  FOR:        Kentucky CVS Pharmacy, L.L.C. (Domestic State: KY)




  ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

  TITLE OF ACTION:                                  Re: Tara Halbert // To: Kentucky CVS Pharmacy, L.L.C.
  DOCUMENT(S) SERVED:                               -
  COURT/AGENCY:                                     None Specified
                                                    Case # 22CI00490
  NATURE OF ACTION:                                 Personal Injury - Failure to Maintain Premises in a Safe Condition
  ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Frankfort, KY
  DATE AND HOUR OF SERVICE:                         By Certified Mail on 03/02/2022 postmarked on 02/28/2022
  JURISDICTION SERVED :                             Kentucky
  APPEARANCE OR ANSWER DUE:                         None Specified
  ATTORNEY(S) / SENDER(S):                          None Specified
  ACTION ITEMS:                                     CT has retained the current log, Retain Date: 03/02/2022, Expected Purge Date:
                                                    03/07/2022

                                                    Image SOP

                                                    Email Notification, Serviceof Process service_of_process@cvs.com

  REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                    306 W. Main Street
                                                    Suite 512
                                                    Frankfort, KY 40601
                                                    800-448-5350
                                                    MajorAccountTeam1@wolterskluwer.com
  The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
  relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
  of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
  advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
  therein.




                                                                                                      Page 1 of 1 / GP




                                                                                                           EXHIBIT A
                                                                                               la-RMU        LarAllli-
                Case: 5:22-cv-00081-GFVT Doc #: 1-1 Filed: 03/30/22 Page: 2 of 22 - Page ID#: 7




                                                                           111E1111111111
                                                                                             I I
                                                                                            9414 7266 9904 2969 2798 29
                                                                                            RETURN RECEIPT REQUESTED
                                                                                                                          ,

             Vincent Riggs, Fayette Circuit Clerk
             120 N. Limestone, Room C-103
             Lexington, KY 40507-1152
                                        •



                                                    CT CORPORATION SYSTEM
                                                    306W MAIN STREET SUITE 512
                                                    FRANKFORT, KY 40601 •




         •




•••••7*.--
                Case: 5:22-cv-00081-GFVT Doc #: 1-1 Filed: 03/30/22 Page: 3 of 22 - Page ID#: 8
   A0C-E-105                  Sum Code: CI
   Rev. 9-14                                                                                Case #: 22-CI-00490

   Commonwealth of Kentucky                                                                 Court: CIRCUIT
   Court of Justice Courts.ky.gov                                                           County: FAYETTE
   CR 4.02; Cr Official Form 1                               CIVIL SUMMONS

 Plantiff, HALBERT,TARA VS. CVS PHARMACY,INC. ET AL, Defendant




                                                                                                                                    Package:000002Of 060007
      TO: CT CORPORATION SYSTEM
                306 W MAIN STREET SUITE 512
                 FRANKFORT, KY 40601
 Memo: Related party is KENTUCKY CVS PHARMACY, LLC

 The Commonwealth of Kentucky to Defendant:
 KENTUCKY CVS PHARMACY, LLC

    You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
 the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
 on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
 taken against you for the relief demanded in the attached complaint.

 The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the
 document delivered to you with this Summons.




                                                                  • Fayette Circuit Clerk
                                                                    Date: 2/24/2022




                                                             Proof of Service
      This Summons was:

 o Served by delivering a true copy and the Complaint (or other initiating document)
          To:

•Not Served because:


      Date:                                          20
                                                                                                Served By


                                                                                                  Title

Summons ID: 434701929193614@00001047049
CIRCUIT: 22-CI-00490 Certified Mail                                                                                                                           •
HALBERT TARA VS. CVS PHARMACY, INC. ET AL


 111111111 1 111111111111111111111011011111111111 11111111      Page 1 of 1                       eFiled
       Case: 5:22-cv-00081-GFVT Doc #: 1-1 Filed: 03/30/22 Page: 4 of 22 - Page ID#: 9
 Pi1e(11                22-CI-00490 02/24/2022                 Vincent Riggs, Fayette Circuit Clerk




                                                                                          Electronicallyfiled
                                       COMMONWEALTH OF KENTUCKY
                                          FAYETTE CIRCUIT COURT
                                            DIVISION
                                          CASE NO.



           TARA HALBERT                                                                          PLAINTIFF



           vs.                           COMPLAINT & JURY DEMAND


           CVS PHARMACY,INC.
           Serve: CT Corporation System
                  306 W Main Street
                  Suite 512
                  Frankfort, KY 40601
                   VIA Certified Mail


           KENTUCKY CVS PHARMACY, LLC                                                        DEFENDANTS

           Serve: CT Corporation System
                  306 W Main Street
                  Suite 512
                  Frankfort, KY 40601
                  VIA Certified Mail




                  COMES NOW the Plaintiff, Tara Halbert, by counsel, and for her complaint against the

           Defendants CVS Pharmacy, Inc. and Kentucky CVS Pharmacy, LLC, states and alleges as

           follows:

                                          JURISDICTION AND VENUE

                  I.     The Plaintiff, Tara Halbert, at all times relevant hereto, is a resident of Lexington,
                                                                                                                  0 •
                                                                                                                  0
                                                                                                                  0
           Fayette County, Kentucky.                                                                              0
                                                                                                                  0
                                                                                                                  0




                                                                                                                  0_


.Filed                  22-CI-00490 02/24/2022                 Vincent Riggs, Fayette Circuit Clerk
   Case: 5:22-cv-00081-GFVT Doc #: 1-1 Filed: 03/30/22 Page: 5 of 22 - Page ID#: 10
Filed                    22-CI-00490 02/24/2022                Vincent Riggs, Fayette Circuit Clerk




               2.        The Defendant, CVS Pharmacy, Inc., to the best of Plaintiff's knowledge and

        belief, is a pharmaceutical corporation with retail store locations throughout the United States. It

        is registered to do business in the state of Kentucky, whose service of process agent is CT




                                                                                                                 Package:000004 of 000007
        Corporation System, 306 West Main Street, Suite 512, Frankfort, Kentucky 40601.

               3.        The Defendant, Kentucky CVS Pharmacy, LLC is a Kentucky limited liability

        company operating pharmaceutical retail stores in Kentucky, whose service of process agent is

        CT Corporation System, 306 West Main Street, Suite 512, Frankfort, Kentucky 40601.

               4.        Venue is proper in Fayette Circuit Court because Plaintiff's claims against CVS

        Pharmacy Inc., and Kentucky CVS Pharmacy, LLC("CVS Defendants") arise out of a fall which

        occurred on or about March 10, 2021, on premises owned, controlled, and/or maintained by CVS

        Defendants located at 2000 Harrodsburg Road, Lexington, Kentucky 40503.




                                                                                                                 Presiding Judge: HON. THOMAS 1. TRAVIS (622370)
               5.        Plaintiff's claims against CVS Pharmacy Inc., and Kentucky CVS Pharmacy,

        LLC are in excess of the minimal jurisdictional requirements of the Fayette Circuit Court.

                                           FACTUAL BACKGROUND

               6.        On or about March 10, 2021, Plaintiff was an invitee of CVS Defendants where

        •she was picking up prescriptions.

               7.        As Plaintiff was exiting the store, she tripped over a misplaced, broken, in

        disrepair concrete barrier in the parking lot.

               8.        As a result of the above referenced fall, Plaintiff, Tara Halbert, fell to the ground

        where she landed on her face. She sustained injuries to her front teeth, as well as a concussion.

                                               CAUSE OF ACTION
                                                                                                                     Package :000004 of 000007




               9.        CVS Defendants at all relevant times hereto owned, controlled, and/or maintained

        said premises.




Filed                    22-CI-00490 02/24/2022            2   Vincent Riggs, Fayette Circuit Clerk
   Case: 5:22-cv-00081-GFVT Doc #: 1-1 Filed: 03/30/22 Page: 6 of 22 - Page ID#: 11
Filed                   22-C1-00490 02/24/2022              Vincent Riggs, Fayette Circuit Clerk




                1 0.    CVS Defendants were responsible for the maintenance, inspection, and upkeep of

        the premises.

                1 I.
                  1     CVS Defendants through their employees and/or agents, were responsible for the




                                                                                                            Package:000005 of 000007
        maintenance, inspection, and upkeep of the premises.

                1 2.    Tara Halbert's fall was caused by a dangerous, defective, and unsafe condition on

        CVS Defendants' premises, which was caused by CVS Defendants, which was known to CVS

        Defendants, or should have been known in the exercise of ordinary care, by and through its

        employees and/or agents.

                1 3.    •CVS Defendants through their employees and/or agents, posted no warning of any

        kind to advise Tara Halbert and others of the hazards in the area described above even though

        CVS Defendants knew or should have known that the area where Tara Halbert fell was a




                                                                                                            Presiding Judge; HON. THOMAS L. TRAVIS (622370)
        defective, dangerous, and unsafe condition.

                1 4.    As a result of the negligence of Kentucky CVS Pharmacy, LLC and CVS

        Pharmacy Inc., as described above, Tara Halbert suffered and continues to suffer damages

        flowing from her bodily injuries, including past and future medical expenses; past and future

        physical and mental pain and suffering; past and future lost wages, permanent physical

        impairment; impairment of her ability to labor and earn money; and loss of enjoyment of life, all

        in excess of this Court's minimum jurisdictional limits.

                WHEREFORE, Plaintiff, Tara Halbert, respectfully demands judgement against the

        Defendants CVS Pharmacy Inc., and Kentucky CVS Pharmacy, LLC as follows:

                1.       For compensatory damages in the amount deemed fair, just and reasonable by the
                                                                                                                 Package :000005 of 000007




        trier of facts, including but not limited to:

                        a.      Past and future medical expenses;




Filed                   22-C1-00490 02/24/2022          3   Vincent.Riggs, Fayette Circuit Clerk
    Case: 5:22-cv-00081-GFVT Doc #: 1-1 Filed: 03/30/22 Page: 7 of 22 - Page ID#: 12
Filed.                 22-C1-00490 02/24/2022                Vincent Riggs, Fayette Circuit Clerk




                        b.     Past and future mental and physical pain and suffering;

                        c.     Past and future lost wages;

                        d.     Permanent physical impairment;




                                                                                                                  Package:000006 of 000007
                        e.     Permanent impairment of his ability to labor earn money; and

                       f.      Loss of enjoyment of life.

                2.      Plaintiffs costs herein expended;

                3.      A TRIAL BY JURY on all issues so triable; and

                4.      Any and all other relief to which Plaintiff may appear to be entitled, including a

         reasonable attorney's fee.

                                                     Respectfully submitted,

                                                     /s/ Christopher W. Goode




                                                                                                             Presiding Judge: HON. THOMAS L. TRAVIS (622370)
                                                     Christopher W. Goode #88425
                                                     GOODE LAW OFFICE, PLLC
                                                     389 Elaine Drive
                                                      Lexington, Kentucky 40504
                                                     cgoode@goodelawyers.corn
                                                     859.363.6688
                                                     Counselfor Plaintiff




                                                                                                                Package :000006 of 000007




Filed                  22-C1-00490 02/24/2022           4    Vincent Riggs, Fayette Circuit Clerk
     Case: 5:22-cv-00081-GFVT
     Filed         22-CI-00 -190
                                 Doc #: 1-1 Filed:
                                 02:24:2022
                                                   03/30/22 Page: 8 of 22 - Page ID#: 13
                                               Vincent Riggs.                        Fayette Circuit CletiK

AOC-104           Doc. Code: CCCS
Rev. 9-21                                                                                   Case No.:
Page 1 of 1
                                                                                            Court: Civil
Commonwealth of Kentucky
                                                                                            County: Fayette
Court of Justice www.kycourts.gov
                                                                                            Division:

 PLAINTIFF/PETITIONER OR IN RE/IN THE INTEREST OF:
 Tara Halbert


 DEFENDANT/RESPONDENT, if applicable:
 CVS PHARMACY, INC. and KENTUCKY CVS PHARMACY, LLC

                         O     Check here if YOU DO NOT HAVE AN ATTORNEY and are REPRESENTING YOURSELF
                               (a Self-Represented [Pro Se]Litigant)

 Nature of the Case: Place a"X"to the left ofthe ONEcase category that most accurately describes your PRIMARY
                     CASE. If you are making more than one type of claim, check the one that you consider
                     most important.

 DOMESTIC RELATIONS                                   TORT (Injury)                          CONSUMER
0Dissolution/Divorce with Children (DISSOC)           O Automobile (AUTO)                   0 Seller Consumer Goods (DEBTG)
O Dissolution/Divorce without Children (DISSO)        0 Intentional (INTENT)                O Seller Consumer Services
                                                                                                 (DEBTS)
0Paternity (PA)                                       0 Malpractice-Medical (MDML)          0 Buyer Consumer Goods
0Custody(CUSTO)                                       0 Malpractice-Other (MLOTH)             (BUYERG)
O Child Support IV-D (SUPIV)                                                                 O Buyer Consumer Services •




                                                                                                                                  Prestding Judge: HON. THOMAS L. TRAVIS (622370)
                                                                                               (BUYERS)
O Child Support Private Non IV-D (SUPPRI)             ▪Premises Liability (PREM)            0  Credit Card Debt (CREDIT)
▪URESA/UIFSA (UR)                                     O Product Liability (PROD)            0 Fraud (FRAUD)
O Visitation/Parenting Time (VISIT)                   O Property Damage (PD)                0 Other: (COOTH)
El Voluntary Termination of Parental Rights
 • (VTPR)
                                                      O Slander/Libel/Defamation
                                                         (SLAND)
p Involuntary Termination of Parental Rights          0 Other: (P10TH)                       APPEALS
 . (ITPR)
                                                                                            0 Appeal from Administrative Agency
0 Adoption (ADPT)                                                                            (AB)
0 Other: (DFOTH)                                                                             OAppeal from District Court (XI)
                                                                                            El Other: (0TH)
                                                      REAL PROPERTY
                                                      0 Abandoned and Blighted Property
 PROBATE / ESTATE                                       Conservatorship (PC)
0 Guardianship-Adult (GCADLT)                         0 Property Rights (PR)                MISC CIVIL
0 Guardianship-Juvenile (GCJUV)                       O Condemnation (DOMAIN)               0 Constitutional Challenge
                                                                                               (CCHAL)
0 Adult Conservatorship - Trusteeship                 O Forcible Detainer - Eviction (FD)   0 Habeas Corpus (HABEAS)
    (CONSVA)                                          O Forcible Entry (FENTRY)             0 Non-Domestic Relations
0 Juvenile Conservatorship - Trusteeship•             O Foreclosure (FCL)                        Restraining Order (IP)

    (CONSVJ)                                          O Other: (COOTH)
                                                                                            0    Tax (TAX)
                                                                                            O
                                                                                                                                       Package : 000007 of 000007




                                                                                                 Writs (WRITS)
El Probate-Testate (with a will) (PBTEST)
                                                                                            O Other: (0TH)
 O Probate-Intestate (without a will) (PBINT)         EMPLOYMENT
                                                                                             BUSINESS / COMMERCIAL
 0 Petition to Dispense with Administration (PBDIS)   0 Employment-Discrimination
                                                                                             0 Business Tort (BCPI)
 0 Name Change (NC)                                     (DSCR)
                                                                                             0 Statutory Action (BCSA)
 El Will Contest (WC)                                 0 Employment-Other (DISPU)
                                                                                             0 Business Contract Dispute (BCCO)
 0 Other: (PBOTH)                                                                            O Other: (BCOTH)
     Filed                22-0.-C10-190         02/2-12022          Vincent Rigs. F.ayette Circuit Clerk
GFVT Doc #: 1-1 Filed: 03/30/22 Page:



                 Fayette County
                  Vincent Riggs
               Circuit Court Clerk
  Receipt Number: XX-XXXXXXX-A

 DATE: 02/24/2022
  TIME: 03:38 PM EST
  *** (Z) OTHER TYPE RECEIPT ***


  CASE NO: 22-CI-00490

 RECEIVED FROM: CHRISTOPHER W
 GOODE
  ACCOUNT OF: HALBERT, TARA VS. CVS
  PHARMACY, INC. ET AL

 PARTY NAME: CHRISTOPHER W GOODE



  1. ATJ Fee (1)                          $20.00
  2. Civil Filing Fee (Q)                $150.00
  3. Court Technology                     $20.00
     MCFO(K(CT))
  4. Library Fee (L)                       $1.00
  5. Court Facilities Fee ([)             $25.00
  6. Att Tax Fee                           $5.00
     MCFO(K(Q))
  7. Postage MCFO(K(H))                   $27.06
  8. Copy - Photocopy                      $1.40
     CS(W(F))
                TOTAL:                   $249.46



       CREDIT CARD:                      $249.46

               ***DIFF:                    $0.00



  *** Credit Card Invoice #: 139425188
FVT Doc #: 1-1 Filed: 03/30/22 Page:

 4347019



 *** MultiReceipt/MassReceipt Transaction ***
 Reprint : 2/25/2022 7:04:35AM
 Prepared By: Web_Payment
 Pay Online Visit:
 www.kycourts.gov    and click on Pay Fine/Fee.

 Reprint
Case: 5:22-cv-00081-GFVT Doc #: 1-1 Filed: 03/30/22 Page: 11 of 22 - Page ID#: 16




                                                                Electronically filed




                                                                                       B3355234-4207-41FC-89E0-98CFC810BB2D : 000001 of 000005
                         COMMONWEALTH OF KENTUCKY
                            FAYETTE CIRCUIT COURT
                                 DIVISION VIII
                              CASE NO. 22-CI-00490



TARA HALBERT                                                           PLAINTIFF



vs.                    AMENDED COMPLAINT & JURY DEMAND


CVS PHARMACY, INC.

Serve: CT Corporation System
       306 W Main Street
       Suite 512
       Frankfort, KY 40601
       VIA Certified Mail


CVS 6940 KY, LLC

Serve: C T CORPORATION SYSTEM
       306 W. Main Street
       Suite 512
       Frankfort, KY 40601


KENTUCKY CVS PHARMACY, LLC                                         DEFENDANTS

Serve: CT Corporation System
       306 W Main Street
       Suite 512
       Frankfort, KY 40601
       VIA Certified Mail

                                    *****
                                                                                       AMC : 000001 of 000005
Case: 5:22-cv-00081-GFVT Doc #: 1-1 Filed: 03/30/22 Page: 12 of 22 - Page ID#: 17




         COMES NOW the Plaintiff, Tara Halbert, by counsel, and for her Amended Complaint




                                                                                                        B3355234-4207-41FC-89E0-98CFC810BB2D : 000002 of 000005
against the Defendants CVS Pharmacy, Inc., CVS 6940 KY, LLC, and Kentucky CVS

Pharmacy, LLC, states and alleges as follows:

                                JURISDICTION AND VENUE

         1.    The Plaintiff, Tara Halbert, at all times relevant hereto, is a resident of Lexington,

Fayette County, Kentucky.

         2.    The Defendant, CVS Pharmacy, Inc., to the best of Plaintiff’s knowledge and

belief, is a pharmaceutical corporation with retail store locations throughout the United States. It

is registered to do business in the state of Kentucky, whose service of process agent is CT

Corporation System, 306 West Main Street, Suite 512, Frankfort, Kentucky 40601.

         3.    The Defendant, CVS 6940 KY, LLC, to the best of Plaintiff’s knowledge and

belief, is Kentucky limited liability company operating and owning pharmaceutical retail stores

in Kentucky, whose service of process agent is CT Corporation System, 306 West Main Street,

Suite 512, Frankfort, Kentucky 40601.

         4.    The Defendant, Kentucky CVS Pharmacy, LLC is a Kentucky limited liability

company operating pharmaceutical retail stores in Kentucky, whose service of process agent is

CT Corporation System, 306 West Main Street, Suite 512, Frankfort, Kentucky 40601.

         5.    Venue is proper in Fayette Circuit Court because Plaintiff’s claims against CVS

Pharmacy Inc., CVS 6940 KY, LLC, and Kentucky CVS Pharmacy, LLC (“CVS Defendants”)

arise out of a fall which occurred on or about March 10, 2021, on premises owned, controlled,

and/or maintained by CVS Defendants located at 2000 Harrodsburg Road, Lexington, Kentucky
                                                                                                        AMC : 000002 of 000005




40503.




                                                 2
Case: 5:22-cv-00081-GFVT Doc #: 1-1 Filed: 03/30/22 Page: 13 of 22 - Page ID#: 18




       6.        Plaintiff’s claims against CVS Pharmacy Inc., CVS 6940 KY, LLC, and




                                                                                                         B3355234-4207-41FC-89E0-98CFC810BB2D : 000003 of 000005
Kentucky CVS Pharmacy, LLC are in excess of the minimal jurisdictional requirements of the

Fayette Circuit Court.

                                   FACTUAL BACKGROUND

       7.        On or about March 10, 2021, Plaintiff was an invitee of CVS Defendants where

she was picking up prescriptions.

       8.        As Plaintiff was exiting the store, she tripped over a misplaced, broken, in

disrepair concrete barrier in the parking lot.

       9.        As a result of the above referenced fall, Plaintiff, Tara Halbert, fell to the ground

where she landed on her face. She sustained injuries to her front teeth, as well as a concussion.

                                       CAUSE OF ACTION

       10.       CVS Defendants at all relevant times hereto owned, controlled, and/or maintained

said premises.

       11.       CVS Defendants were responsible for the maintenance, inspection, and upkeep of

the premises.

       12.       CVS Defendants through their employees and/or agents, were responsible for the

maintenance, inspection, and upkeep of the premises.

       13.       Tara Halbert’s fall was caused by a dangerous, defective, and unsafe condition on

CVS Defendants’ premises, which was caused by CVS Defendants, which was known to CVS

Defendants, or should have been known in the exercise of ordinary care, by and through its

employees and/or agents.
                                                                                                         AMC : 000003 of 000005




       14.       CVS Defendants through their employees and/or agents, posted no warning of any

kind to advise Tara Halbert and others of the hazards in the area described above even though




                                                   3
Case: 5:22-cv-00081-GFVT Doc #: 1-1 Filed: 03/30/22 Page: 14 of 22 - Page ID#: 19




CVS Defendants knew or should have known that the area where Tara Halbert fell was a




                                                                                                     B3355234-4207-41FC-89E0-98CFC810BB2D : 000004 of 000005
defective, dangerous, and unsafe condition.

        15.     As a result of the negligence of Kentucky CVS Pharmacy, LLC, CVS 6940 KY,

LLC, and CVS Pharmacy Inc., as described above, Tara Halbert suffered and continues to suffer

damages flowing from her bodily injuries, including past and future medical expenses; past and

future physical and mental pain and suffering; past and future lost wages, permanent physical

impairment; impairment of her ability to labor and earn money; and loss of enjoyment of life, all

in excess of this Court’s minimum jurisdictional limits.

        WHEREFORE, Plaintiff, Tara Halbert, respectfully demands judgement against the

Defendants CVS Pharmacy Inc., CVS 6940 KY, LLC, and Kentucky CVS Pharmacy, LLC as

follows:

        1.      For compensatory damages in the amount deemed fair, just and reasonable by the

trier of facts, including but not limited to:

                a.      Past and future medical expenses;

                b.      Past and future mental and physical pain and suffering;

                c.      Past and future lost wages;

                d.      Permanent physical impairment;

                e.      Permanent impairment of his ability to labor earn money; and

                f.      Loss of enjoyment of life.

        2.      Plaintiff’s costs herein expended;

        3.      A TRIAL BY JURY on all issues so triable; and
                                                                                                     AMC : 000004 of 000005




        4.      Any and all other relief to which Plaintiff may appear to be entitled, including a

reasonable attorney’s fee.




                                                 4
Case: 5:22-cv-00081-GFVT Doc #: 1-1 Filed: 03/30/22 Page: 15 of 22 - Page ID#: 20




                                     Respectfully submitted,




                                                                                    B3355234-4207-41FC-89E0-98CFC810BB2D : 000005 of 000005
                                     /s/ Christopher W. Goode
                                     Christopher W. Goode #88425
                                     GOODE LAW OFFICE, PLLC
                                     389 Elaine Drive
                                     Lexington, Kentucky 40504
                                     cgoode@goodelawyers.com
                                     859.363.6688
                                     Counsel for Plaintiff




                                                                                    AMC : 000005 of 000005




                                        5
Case: 5:22-cv-00081-GFVT Doc #: 1-1 Filed: 03/30/22 Page: 16 of 22 - Page ID#: 21


    NO. 22-CI-00490                                                           FAYETTE CIRCUIT COURT
                                                                                    DIVISON EIGHT (8)




                                                                                                                 0E9BB35D-5278-4AEB-A4E0-065FF02ECE9B : 000001 of 000007
                                                                             JUDGE THOMAS L. TRAVIS

    TARA HALBERT                                                                                     PLAINTIFF

    v.

    CVS PHARMACY, INC.,
    CVS 6940 KY, LLC, AND
    KENTUCKY CVS PHARMACY, LLC                                                                 DEFENDANTS


      ANSWER OF DEFENDANTS CVS PHARMACY, INC; CVS 6940 KY, LLC; AND
     KENTUCKY CVS PHARMACY, LLC TO PLAINTIFF’S AMENDED COMPLAINT


           Defendant, Kentucky CVS Pharmacy, LLC (incorrectly sued herein as CVS Pharmacy,

Inc. and CVS 6940 Ky, LLC.; (‘Defendant’) 1, for its answer to the Amended Complaint of

Plaintiff, Christy Elliott, state as follows:

                                               FIRST DEFENSE

           The Amended Complaint fails, in whole or in part, to state a claim upon which relief can

be granted and should be dismissed. The CVS Pharmacy, Inc. and CVS 6940 Ky, LLC Defendants

deny that they are proper parties.

                                              SECOND DEFENSE

           As to the numbered paragraphs in the Amended Complaint:

                                       JURISDICTION AND VENUE

           1.       Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 1 of the Amended Complaint. The CVS Pharmacy, Inc. and

CVS 6940 Ky, LLC Defendants deny that they are proper parties.
                                                                                                                 ANS : 000001 of 000007




1   CVS Pharmacy, Inc. or CVS 6940 Ky, LLC are not proper and/or necessary parties to this action.
Case: 5:22-cv-00081-GFVT Doc #: 1-1 Filed: 03/30/22 Page: 17 of 22 - Page ID#: 22


       2.      Defendant denies the allegations as stated in Paragraph 2 of the Amended




                                                                                                     0E9BB35D-5278-4AEB-A4E0-065FF02ECE9B : 000002 of 000007
Complaint as stated and affirmatively states that CVS Pharmacy, Inc. is not a proper and/or

necessary party to this action.

       3.      Defendant denies the allegations as stated in Paragraph 2 of the Amended

Complaint as stated and affirmatively states that CVS 6940 Ky, LLC is not a proper and/or

necessary party to this action.

       4.      Defendant admits the allegations in Paragraph 4 of the Amended Complaint. The

CVS Pharmacy, Inc. and CVS 6940 Ky, LLC Defendants deny that they are proper parties.

       5.      The allegations in Paragraph 5 of the Amended Complaint call for a legal

conclusion to which no responsive pleading is required. The CVS Pharmacy, Inc. and CVS 6940

Ky, LLC Defendants deny that they are proper parties. Defendant further denies to the extent

Paragraph 5 alleges or infers wrongdoing on the part of Defendant.

       6.      The allegations in Paragraph 6 of the Amended Complaint call for a legal

conclusion to which no responsive pleading is required. The CVS Pharmacy, Inc. and CVS 6940

Ky, LLC Defendants deny that they are proper parties. Defendant further denies to the extent

Paragraph 6 alleges or infers wrongdoing on the part of Defendant.

                                  FACTUAL BACKGROUND

       7.      Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 7 of the Amended Complaint. The CVS Pharmacy, Inc. and

CVS 6940 Ky, LLC Defendants deny that they are proper parties.

       8.      Defendant denies the allegations in Paragraph 8 of the Amended Complaint. The
                                                                                                     ANS : 000002 of 000007




CVS Pharmacy, Inc. and CVS 6940 Ky, LLC Defendants deny that they are proper parties.

       9.      Defendant denies the allegations in Paragraph 9 of the Amended Complaint. The

CVS Pharmacy, Inc. and CVS 6940 Ky, LLC Defendants deny that they are proper parties.
Case: 5:22-cv-00081-GFVT Doc #: 1-1 Filed: 03/30/22 Page: 18 of 22 - Page ID#: 23


                                       CAUSE OF ACTION




                                                                                                     0E9BB35D-5278-4AEB-A4E0-065FF02ECE9B : 000003 of 000007
       10.        Defendant denies the allegations as stated in Paragraph 10 of the Amended

Complaint. The CVS Pharmacy, Inc. and CVS 6940 Ky, LLC Defendants deny that they are

proper parties.

       11.        Defendant denies the allegations as stated in Paragraph 11 of the Amended

Complaint. The CVS Pharmacy, Inc. and CVS 6940 Ky, LLC Defendants deny that they are

proper parties.

       12.        Defendant denies the allegations as stated in Paragraph 12 of the Amended

Complaint. The CVS Pharmacy, Inc. and CVS 6940 Ky, LLC Defendants deny that they are

proper parties.

       13.        Defendant denies the allegations in Paragraph 13 of the Amended Complaint. The

CVS Pharmacy, Inc. and CVS 6940 Ky, LLC Defendants deny that they are proper parties.

       14.        Defendant denies the allegations in Paragraph 14 of the Amended Complaint. The

CVS Pharmacy, Inc. and CVS 6940 Ky, LLC Defendants deny that they are proper parties.

       15.        Defendant denies the allegations in Paragraph 15 of the Amended Complaint. The

CVS Pharmacy, Inc. and CVS 6940 Ky, LLC Defendants deny that they are proper parties.

       16.        Any averment or allegation not previously addressed is hereby denied.

                                   AFFIRMATIVE DEFENSES

                                         THIRD DEFENSE

       The injuries and damages alleged in the Amended Complaint, if any, were caused by the

acts, omissions and/or active primary negligence and/or intentional conduct and/or the intervening
                                                                                                     ANS : 000003 of 000007




and superseding negligence and/or intentional conduct of persons or entities other than this

Defendant and such negligence or intentional acts by such persons or entities precludes any
Case: 5:22-cv-00081-GFVT Doc #: 1-1 Filed: 03/30/22 Page: 19 of 22 - Page ID#: 24


liability of this Defendant or requires apportionment of fault attributable to persons or entities other




                                                                                                           0E9BB35D-5278-4AEB-A4E0-065FF02ECE9B : 000004 of 000007
than this Defendant.

                                       FOURTH DEFENSE

       The injuries and damages alleged in the Amended Complaint, if any occurred, were caused,

in whole or in part, by the primary, active, superseding, intervening negligence and/or intentional

acts of Plaintiff and/or persons or entities other than this Defendant for which this Defendant has

no liability or responsibility and which were the proximate cause and/or a substantial factor in

causing said injuries and damages, if any, and Plaintiff’s claims against this Defendant are,

therefore, barred or should be reduced in proportion to the fault attributable to persons other than

this Defendant.     Further, Defendant specifically reserves the right to seek apportionment,

contribution and/or indemnity as appropriate.

                                         FIFTH DEFENSE

       The injuries and damages alleged in the Amended Complaint, if any are found, were

caused, in whole or in part, by Plaintiff’s contributory and/or comparative negligence by reason of

her failure to use the degree of case which would have been used by an ordinary, reasonable and

prudent person under the same or similar circumstances. Any damages to which the Plaintiff may

be found to be entitles are barred and should be reduced in proportion to the amount of fault

attributable to the Plaintiff. The negligence of the Plaintiff proximately caused, contributed to,

and was a substantial factor in causing the injuries and damages, if any, alleged in the Amended

Complaint.

                                         SIXTH DEFENSE
                                                                                                           ANS : 000004 of 000007




       Defendant’s conduct was not the proximate cause or a substantial factor in causing any of

the injuries or damage, if any occurred, alleged by the Plaintiff.
Case: 5:22-cv-00081-GFVT Doc #: 1-1 Filed: 03/30/22 Page: 20 of 22 - Page ID#: 25


                                       SEVENTH DEFENSE




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        To the extent that there exists any person or entity who has paid any amounts to or for the

benefit of the Plaintiff or on account of events or injuries or damages alleged in the Amended

Complaint and who have not been properly notified of their subrogation rights, Plaintiff has failed

to comply with KRS 411.188 and the Amended Complaint is barred. Alternatively, Plaintiff is

precluded from recovery of amounts which are the subject of subrogation rights. Moreover, to the

extent such person or entity exists, Plaintiff is not the real party in interest to the extent of any such

payment.

                                        EIGHTH DEFENSE

        Plaintiff has failed to plead special damages, if any, with specificity as required by Rule

9.6 of the Kentucky Rules of Civil Procedure and any claims for special damages therefore barred.



                                         NINTH DEFENSE

        Pending discovery, this Defendant reserve the right to contend that Plaintiff did not

properly mitigate her damages, if any.



                                         TENTH DEFENSE

        The alleged condition about which Plaintiff complains was open and obvious to Plaintiff.

                                      ELEVENTH DEFENSE

        The alleged condition about which Plaintiff complains, was not present for a sufficient

period of time or under circumstances sufficient for this Defendant to discover and warn or remedy
                                                                                                             ANS : 000005 of 000007




it.
Case: 5:22-cv-00081-GFVT Doc #: 1-1 Filed: 03/30/22 Page: 21 of 22 - Page ID#: 26


                                            TWELFTH DEFENSE




                                                                                                        0E9BB35D-5278-4AEB-A4E0-065FF02ECE9B : 000006 of 000007
           Subject to what discovery may reveal, Plaintiff’s Amended Complaint is barred by the

applicable statute of limitations and/or repose.

                                          THIRTEENTH DEFENSE

           Pending discovery, Defendant affirmatively pleads all other affirmative defenses available

to it under United States and Kentucky common law and statutory provisions.



           WHEREFORE, Defendants, CVS Pharmacy, Inc., CVS 6940 Ky, LLC. And Kentucky

CVS Pharmacy, LLC, respectfully demand:

           1.      Dismissal of the Amended Complaint against them, in its entirety with prejudice;

           2.      Recovery of their costs and attorneys’ fees incurred in defense of this action, if

applicable;

           3.      A trial by jury on all issues so triable; and,

           4.      Any and all other relief to which they may appear entitled.

                                                                Respectfully submitted,

                                                                REMINGER CO., L.P.A.

                                                                /s/ Robert A. Ott
                                                                Robert A. Ott, Esq. #91927
                                                                730 West Main Street, Suite 300
                                                                Louisville, KY 40202
                                                                (502) 584-1310 - Telephone
                                                                (502) 589-5436 - Facsimile
                                                                rott@reminger.com
                                                                Counsel for Defendant, CVS Pharmacy,
                                                                                                        ANS : 000006 of 000007



                                                                Inc., CVS 6940 Ky, LLC. And Kentucky
                                                                CVS Pharmacy, LLC 2



2   CVS Pharmacy, Inc. or CVS 6940 Ky, LLC are not proper and/or necessary parties to this action.
Case: 5:22-cv-00081-GFVT Doc #: 1-1 Filed: 03/30/22 Page: 22 of 22 - Page ID#: 27




                                CERTIFICATE OF SERVICE




                                                                                                       0E9BB35D-5278-4AEB-A4E0-065FF02ECE9B : 000007 of 000007
        This is to certify that a true and correct copy of the foregoing was filed electronically on
March 29, 2022 and a notice of electronic filing will be sent to all counsel of record and a copy
will be sent via U.S. Mail.

 Christopher W. Goode
 GOODE LAW OFFICE, PLLC
 389 Elaine Drive
 Lexington, KY 40504
 Cgoode@goodelawyers.com
 Counsel for Plaintiff

                                                             /s/ Robert A. Ott__________
                                                            Robert A. Ott, Esq.




                                                                                                       ANS : 000007 of 000007
